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  7
  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
 10                                  WESTERN DIVISION
 11 LORA SMITH and CYNTHIA               )   CASE NO.: 2:14-cv-06668-DSF-PLA
    HIMPLE, individually, and on         )
 12 behalf of the class of all others    )   (1) NOTICE OF MOTION AND
    similarly situated,                  )   MOTION OF BANK OF AMERICA,
 13                                      )   N.A. TO DISMISS THE THIRD
                        Plaintiffs,      )   AMENDED COMPLAINT UNDER
 14                                      )   FED. R. CIV. P. 12(b)(1) AND
          v.                             )   12(b)(6);
 15                                      )
    BANK OF AMERICA, N.A., a             )   (2) MEMORANDUM OF POINTS
 16 National Banking Association,        )   AND AUTHORITIES IN SUPPORT
                                         )   OF BANK OF AMERICA, N.A.'S
 17                     Defendant.       )   MOTION TO DISMISS;
                                         )
 18                                      )   (3) REQUEST FOR
                                         )   INCORPORATION BY REFERENCE
 19                                      )   AND FOR JUDICIAL NOTICE;
                                         )
 20                                      )   (4) DECLARATION OF
                                         )   ALEXANDRA RUBOW;
 21                                      )
                                         )   Lodged Under Separate Cover
 22                                      )
                                         )   (5) [PROPOSED] ORDER ON BANK
 23                                      )   OF AMERICA, N.A.'S MOTION TO
                                         )   DISMISS; and
 24                                      )
                                         )   (6) [PROPOSED] ORDER ON BANK
 25                                      )   OF AMERICA'S REQUEST FOR
                                         )   INCORPORATION BY REFERENCE
 26                                      )   AND FOR JUDICIAL NOTICE.
                                         )
 27                                      )   Hon. Dale S. Fischer
                                         )
 28                                      )

                        BANK OF AMERICA'S NOTICE OF MOTION AND MOTION
                           TO DISMISS THE THIRD AMENDED COMPLAINT
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  1                                    )   Assigned to:      Magistrate Judge
                                       )                     Paul L. Abrams
  2                                    )
                                       )   Date:             October 22, 2018
  3                                    )   Time:             1:30 p.m.
                                       )   Courtroom:        7D
  4                                    )
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                      BANK OF AMERICA'S NOTICE OF MOTION AND MOTION
                         TO DISMISS THE THIRD AMENDED COMPLAINT
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  1        TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
  2        NOTICE IS HEREBY GIVEN that on October 22, 2018, at 1:30 p.m., or as
  3 soon thereafter as this matter may be heard, before the Honorable Dale S. Fischer in
  4 Courtroom 7D of the above-entitled Court, located at First Street Courthouse, 350
  5 West 1st Street, Los Angeles, California 90012, Defendant Bank of America, N.A.,
  6 will, and hereby does, move to dismiss with prejudice the Third Amended Complaint
  7 of Plaintiffs Lora Smith and Cynthia Himple in its entirety, pursuant to Federal Rules
  8 of Civil Procedure 12(b)(1) and 12(b)(6).
  9        This Motion is based on this Notice of Motion and Motion; the attached
 10 Memorandum of Points and Authorities, the Request for Incorporation by Reference
 11 and Judicial Notice, and the Declaration of Alexandra Rubow and accompanying
 12 exhibits, all of which are filed concurrently herewith; all of the pleadings and papers
 13 on file in this action; all matters of which this Court may take judicial notice; and on
 14 such other and further oral or documentary evidence as may be presented to the
 15 Court at or before the hearing on this Motion.
 16        This Motion is made following the conference of counsel pursuant to L.R. 7-3,
 17 which took place on August 1 and 9, 2018.
 18
                                 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 19 Dated: August 24, 2018
 20                                 By:           /s/ Peter B. Morrison
                                                      Peter B. Morrison
 21                                   Attorneys for Defendant Bank of America, N.A.
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                        BANK OF AMERICA'S NOTICE OF MOTION AND MOTION
                           TO DISMISS THE THIRD AMENDED COMPLAINT
